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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al., on behalf           )
of themselves and all others similarly         )
situated,                                      )
                                               )
       Plaintiffs,                             )
                                               )          Case No. 16-2105-JAR-JPO
v.                                             )
                                               )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, et )
al.,                                           )
                                               )
       Defendants.                             )

                         NOTICE OF WITHDRAWAL OF COUNSEL
       Pursuant to D. Kan. 83.5.5(b), Stephen Douglas Bonney gives notice that, having retired

from the ACLU last month, he hereby withdraws as counsel of record for Plaintiffs Steven

Wayne Fish, Thomas J. Boynton, Donna Bucci, Douglas Hutchinson, and Charles Stricker.

Plaintiffs will continue to be represented in this litigation by Dale E. Ho, Neil J. Steiner,

Rebecca Waldman, Angela M. Liu, R. Orion Danjuma, Sophia Lin Lakin, and Lauren Bonds,

who is admitted to the bar of this Court and will continue to serve as local counsel. A copy of

this Notice will be served on each of the Plaintiffs in this action.

                                               Respectfully Submitted,

                                               By: /s/ Stephen Douglas Bonney
                                                  Stephen Douglas Bonney, KS No. 12322
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                                                  Kansas City, MO 64171
                                                  Phone: (816) 550-4374
                                                  sdbonney@outlook.com
                                                  One of Plaintiffs Attorneys
                                  CERTIFICATE OF SERVICE
      I certify that, on June 28, 2018, I electronically filed this Notice of Withdrawal of
Counsel using the CM/ECF system, which sent notice of electronic filing to counsel of record.

                                                   /s/ Stephen Douglas Bonney
                                                   Stephen Douglas Bonney
